Case 3:12-cr-00236-JO    Document 2041     Filed 01/30/17    PageID.18208      Page 1 of
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  8                         UNITED STATES DISTRICT COURT
  9                      SOUTHERN DISTRICT OF CALIFORNIA
 10    UNITED STATES OF AMERICA,                     CASE NO. 12cr236-GPC
                                                     Related Case No. 16cv1433-GPC
 11                                   Plaintiff,                      16cv0738-GPC
                                                                      16cv1455-GPC
 12                                                                   16cv1410-GPC
             v.
 13                                                  NOTICE OF TENTATIVE RULING
                                                     ON PETITIONERS ESPUDO,
 14                                                  GRADO, SOLORZANO AND
                                                     CORNEJO’S MOTIONS TO
 15    RUDY ESPUDO (1);                              VACATE, SET ASIDE OR
       MIGUEL GRADO (4);                             CORRECT SENTENCE
 16    JULIO SOLORZANO (12);                         PURSUANT TO 28 U.S.C. § 2255
       JOSE CORNEJO (16).
 17
                                   Defendants.
 18
 19         Petitioners Rudy Esputo, Miguel Grado, Julio Solorzano and Jose Cornejo
 20 (collectively “Petitioners”), proceeding with counsel, filed motions to vacate, set aside,
 21 or correct their sentence pursuant to 28 U.S.C § 2255. (Dkt. Nos. 1967, 1968, 1970,
 22 1971.) Respondent filed a response to the petitions. (Dkt. No. 2016). Petitioners filed
 23 their replies. (Dkt. Nos. 2019, 2020, 2021, 2022.) After a review of the briefs,
 24 supporting documentation and the applicable law, the Court issues the following
 25 tentative ruling in advance of the hearing.
 26                                        Background
 27         On January 19, 2012, the Grand Jury returned an Indictment charging 40
 28 defendants with Racketeer Influenced and Corrupt Organizations Act (“RICO”)

                                                   -1-                                 [12CR236]
Case 3:12-cr-00236-JO   Document 2041     Filed 01/30/17   PageID.18209     Page 2 of
                                         13


  1 conspiracy in violation of 18 U.S.C. § 1962(d) as well as numerous other counts for
  2 their involvement in the Mexican Mafia in the North San Diego County area. (Dkt. No.
  3 1.) A Superseding Indictment was returned on August 2, 2012 as to counts charged
  4 against Petitioners Espudo and Grado. (Dkt. No. 627.) A Second Superseding
  5 Indictment was returned on June 6, 2013 as to charges against Petitioners Solorzano
  6 and Cornejo. (Dkt. No. 1115.)
  7 A.      Miguel Grado
  8         On April 30, 2013, Grado pled guilty, without a plea agreement, to four counts
  9 in the Superseding Indictment: Count 1 for Conspiracy to Conduct Enterprise Affairs
 10 Through a Pattern of Racketeering Activity, in violation of 18 U.S.C. § 1962(d); Count
 11 2 for Conspiracy to Distribute Methamphetamine and Cocaine, in violation of 21
 12 U.S.C. §§ 841(a)(1), 841(b)(1)(A)(vii), 841(b)(1)(B)(ii), and 846; Count 8 for Aiding
 13 and Abetting Distribution of Methamphetamine, in violation of 21 U.S.C. § 841(a)(1)
 14 and 18 U.S.C. § 2; and Count 11 for Aiding and Abetting Discharge of a Firearm in
 15 Relation to a Crime of Violence and a Drug Trafficking Crime in violation of 18 U.S.C.
 16 § 924(c)(1)(A) and 18 U.S.C. § 2. (Dkt. Nos. 627; 1024; 1970, Grado Am. Pet., Ex.
 17 B (change of plea transcript.)
 18         Count 11 of the Superseding Indictment concerning the violation of §
 19 924(c)(1)(A) charged,
 20                                      Count 11
                           Discharge of a Firearm in Relation to
 21                  a Crime of Violence and a Drug-Trafficking Crime
 22         On or about October 15, 2011, within the Southern District of
            California, defendants MIGUEL GRADO . . . did knowingly and
 23         intentionally discharge a firearm during and in relation to a crime of
            violence and a drug-trafficking crime, to wit: the racketeering
 24         conspiracy alleged in Count 1 of this Superseding Indictment, in that
            said racketeering conspiracy involved the commission of the offenses
 25         specified in paragraph 15, subparagraphs a, c and e, of Count 1; and
            the conspiracy to distribute Schedule II Controlled Substances alleged
 26         in Count 2 of this Superseding Indictment; in violation of Title 18,
            United States Code, Sections 924(c)(1)(A), and 2 and Pinkerton v.
 27         United States, 328 U.S. 640 (2946).
 28 (Dkt. No. 627 at 83-84.)

                                              -2-                                    [12CR236]
Case 3:12-cr-00236-JO   Document 2041     Filed 01/30/17   PageID.18210    Page 3 of
                                         13


  1         The Presentence Investigation Report (“PSR”) calculated a United States
  2 Sentencing Guidelines (“USSG”) range of 235 to 293 months for Counts 1, 2 and 8 and
  3 a mandatory consecutive term of 10 years for Count 11. (Dkt. No. 1342 at 22, 24.) In
  4 the PSR, Count 11 was listed as “18 U.S.C §§ 924(c)(1)(A), and 2, Discharge of a
  5 Firearm in Relation to a Drug-Trafficking Offense, a Class C felony.” (Id. at 1.)
  6         At the change of plea hearing, references were made that Count 11 was based on
  7 a crime of violence and a drug trafficking crime under § 924(c), and Grado understood
  8 the maximum penalties he would face for this count. (Dkt. No. 1970, Grado Am. Pet.,
  9 Ex. B.)
 10         On October 21, 2013, the sentencing judge sentenced Grado to 175 months in
 11 custody for Counts 1, 2, and 8 to run concurrently and 120 months custody as to Count
 12 11 to run consecutive to Counts 1, 2 and 8 for a total of 295 months. (Dkt. Nos. 1538,
 13 1585.) Grado did not appeal his sentence or conviction. In the Judgment, Count 11
 14 was presented as “Discharge of a Firearm During and in Relation to a Crime of
 15 Violence and a Drug Trafficking Crime.” Id.
 16 B.      Rudy Espudo
 17         On May 23, 2013, Espudo pled guilty, without a plea agreement, to three counts
 18 of the Superseding Indictment: Count 1 for Conspiracy to Conduct Enterprise Affairs
 19 Through a Pattern of Racketeering Activity, in violation of 18 U.S.C. § 1962(d); Count
 20 2 for Conspiracy to Distribute Methamphetamine and Cocaine, in violation of 21
 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A)(vii), 841(b)(1)(B)(ii), and 846; and Count 12 for
 22 Brandishing of a Firearm in Relation to a Crime of Violence and a Drug Trafficking
 23 Crime, in violation of 18 U.S.C. § 924(c)(1)(A) and 18 U.S.C. § 2. (Dkt. Nos. 627;
 24 1971, Pet., Ex. B at 114.) As
 25         Count 12 of the Superseding Indictment charged,
 26                                      Count 12
                          Brandishing of a Firearm in Relation to
 27                  a Crime of Violence and a Drug-Trafficking Crime
 28         On or about November 16, 2011, within the Southern District of
            California, defendant RUDY ESPUDO did knowingly and

                                            -3-                                    [12CR236]
Case 3:12-cr-00236-JO     Document 2041     Filed 01/30/17     PageID.18211     Page 4 of
                                           13


  1          intentionally brandish a firearm during and in relation to a crime of
             violence and a drug-trafficking crime, to wit: the racketeering
  2          conspiracy alleged in Count 1 of this Superseding Indictment, in that
             said racketeering conspiracy involved the commission of the offenses
  3          specified in paragraph 15, subparagraphs c, d and e, of Count 1; and
             the conspiracy to distribute Schedule II Controlled Substances alleged
  4          in Count 2 of this Superseding Indictment; in violation of Title 18,
             United States Code, Sections 924(c)(1)(A), and 2 and Pinkerton v.
  5          United States, 328 U.S. 640 (1946).
  6
      (Dkt. No. 627 at 84.)
  7
             At the change of plea hearing, it was clarified that Espuda aided and abetted the
  8
      brandishing of a firearm since he was not present at the scene. (Dkt. No. 1971, Espudo
  9
      Pet., Ex. B at 114.) As to Count 12, Espudo agreed to the maximum sentence to be
 10
      imposed agreeing that the government would have to prove that he knowingly engaged
 11
      in a RICO conspiracy which is a crime of violence and he “knowingly aided and
 12
      abetted another individual in brandishing a firearm as part of the commission of a
 13
      racketeering conspiracy involving extortion, robbery and distribution of controlled
 14
      substances” which is a crime of violence and drug-trafficking crime, “as well as
 15
      conspiracy to distribute controlled substance, . . . a drug-trafficking crime in violation
 16
      of 21 U.S.C. section 841, 846.” (Id. at 137-38.)
 17
             As to Counts 1 and 2, the PSR calculated a Guidelines range of 376 to 449
 18
      months with a mandatory consecutive term of 7 years for Count 12. (Dkt. No. 1513 at
 19
      35.) The PSR listed Count 12 as “Ct. 12:18 U.S.C § 924(c)(1)(A)(ii), and 2 and
 20
      Pinkerton v. United States, 328 U.S. 640 (1946), Brandishing a Firearm in Relation to
 21
      a Crime of Violence and a Drug-Trafficking Crime.” (Id. at 1.) At the sentencing
 22
      hearing, the Court imposed 336 months custody for Counts 1 and 2 and seven years
 23
      custody for § 924(c) to run consecutively. (Dkt. Nos. 1579, 1597.) According to the
 24
      Judgment, Count 12 was listed as “Brandishing a Firearm During and in Relation to a
 25
      Drug-Trafficking Crime.” (Dkt. No. 1597 at 1.) Espudo appealed his sentence but he
 26
      subsequently filed a motion voluntarily dismissing his appeal which was granted on
 27
      December 9, 2014.
 28
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                                                 -4-                                     [12CR236]
Case 3:12-cr-00236-JO     Document 2041     Filed 01/30/17    PageID.18212     Page 5 of
                                           13


  1 C.      Julio Solorzano and Jose Cornejo
  2         Solorzano and Cornejo were tried by a jury on Count 1 of the Second
  3 Superseding Indictment for Conspiracy to Conduct Enterprise Affairs Through a
  4 Pattern of Racketeering Activity, 18 U.S.C. § 1962(d); Count 3 for Violent Crime in
  5 Aid of Racketeering (Attempted Murder and Assault with a Dangerous Weapon of
  6 R.T. and S.V.); and Count 20 for Discharge of a Firearm in Relation to a Crime of
  7 Violence. (Dkt. No. 1115.)
  8         In October 2013, a jury returned a verdict and found Solorzano and Cornejo
  9 guilty of Counts 1 and 20 and not guilty of Count 3. (Dkt. Nos. 1438 (Cornejo), 1437
 10 (Solorzano).) Cornejo and Solorzano subsequently entered into a written plea and
 11 sentencing agreement that also resolved pending state charges of assault with a
 12 semiautomatic firearm and robbery to be served concurrently with his federal sentence.
 13 (Dkt. Nos. 1554 (Solorzano); 1555 (Cornejo).)
 14         On October 23, 2013, Solorzano was sentenced to a term of 120 months in
 15 custody on Count 1 and 120 months in custody on Count 20 to run consecutive to
 16 Count 1 for a total of 240 months. (Dkt. Nos. 1559, 1586.) On October 23, 2013,
 17 Cornejo was sentenced for a term of 108 months for Count 1 and 120 months as to
 18 Count 20 to run consecutive to Count 1. (Dkt. Nos. 1560, 1600.)
 19                                         Discussion
 20 A.      Legal Standard on 28 U.S.C. § 2255
 21         Section 2255 authorizes this Court to “vacate, set aside, or correct the sentence”
 22 of a federal prisoner on “the ground that the sentence was imposed in violation of the
 23 Constitution or laws of the United States, or that the court was without jurisdiction to
 24 impose such sentence, or that the sentence was in excess of the maximum authorized
 25 by law, or is otherwise subject to collateral attack[.]” 28 U.S.C. § 2255(a). To warrant
 26 relief under section 2255, a prisoner must allege a constitutional or jurisdictional error,
 27 or a “fundamental defect which inherently results in a complete miscarriage of justice
 28 [or] an omission inconsistent with the rudimentary demands of fair procedure.” United

                                                -5-                                     [12CR236]
Case 3:12-cr-00236-JO       Document 2041     Filed 01/30/17    PageID.18213       Page 6 of
                                             13


  1 States v. Timmreck, 441 U.S. 780, 783 (1979) (quoting Hill v. United States, 368 U.S.
  2 424, 428 (1962)).
  3 B.      Johnson v. United States Ruling
  4         In Johnson v. United States, the United States Supreme Court held that imposing
  5 an increased sentence under the residual clause of the Armed Career Criminal Act of
  6 1984 (“ACCA”) for “any crime punishable by imprisonment for a term exceeding one
  7 year . . . that – (ii) otherwise involves conduct that presents a serious potential risk of
  8 physical injury to another”, 18 U.S.C. § 924(e)(2)(B)(ii), violates the constitutional
  9 right to due process. Johnson v. United States, 135 S. Ct. 2551, 2555 (2015). The
 10 ACCA “imposes a special mandatory fifteen year prison term upon felons who
 11 unlawfully possess a firearm and who also have three or more previous convictions for
 12 committing certain drug crimes or ‘violent felon[ies].’” Begay v. United States, 128
 13 S.Ct. 1581, 1583 (2008). The ACCA’s defines a “violent felony” as follows:
 14         any crime punishable by imprisonment for a term exceeding one year
            . . . that-
 15         (i) has as an element the use, attempted use, or threatened use of
 16         physical force against the person of another1, or
            (ii) is burglary, arson, or extortion, involves use of explosives,2 or
 17         otherwise involves conduct that presents a serious potential risk of
 18         physical injury to another.3
 19
      18 U.S.C. § 924(e)(2)(B).
 20
            In Johnson, the Court held the ACCA’s residual clause, is void for vagueness
 21
      and “imposing an increased sentence under the residual clause of the Armed Career
 22
      Criminal Act violates the Constitution’s guarantee of due process.” Johnson, 135 S.
 23
      Ct. at 2563. The Court explained that “[w]e are convinced that the indeterminacy of
 24
      the wide-ranging inquiry required by the residual clause both denies fair notice to
 25
 26         1
                This section is referred to as the “elements” or “force” clause.
 27         2
             This section is referred to as the “enumerated offenses clause.” See Johnson,
      135 S. Ct. at 2559, 2563.
 28
            3
                This section has become known as the “residual clause.” Id. at 2556.
                                                  -6-                                     [12CR236]
Case 3:12-cr-00236-JO      Document 2041    Filed 01/30/17   PageID.18214    Page 7 of
                                           13


  1 defendants and invites arbitrary enforcement by judges.” Id. at 2557. The Court
  2 expressly stated the decision does not apply to the remainder of the ACCA’s definition
  3 of violent felony or the four enumerated offenses. Id. Moreover, it rejected the
  4 government and dissent’s position that “dozens of federal and state criminal laws use
  5 terms like ‘substantial risk,’ ‘grave risk,’ and ‘unreasonable risk,’ suggesting that to
  6 hold the residual clause unconstitutional is to place these provisions in constitutional
  7 doubt” by responding, “[n]ot at all.” Id. at 2561.
  8         Petitioners argue that under Johnson, RICO conspiracy is no longer a “crime of
  9 violence” under 18 U.S.C. § 924(c) because the definition of “crime of violence” under
 10 residual clause of the ACCA, now declared unconstitutional, contains similar language
 11 to the “crime of violence” definition under § 924(c). They further argue that RICO
 12 conspiracy is also not a “crime of violence” under the force clause. Since RICO
 13 conspiracy is not a crime of violence under the force clause and the residual clause,
 14 their mandatory enhanced sentences should be corrected. Respondent contends that
 15 despite Petitioners’ Johnson argument, Espudo, Grado, Solorzano, and Cornejo would
 16 nevertheless be subject to the provisions of § 924(c) because they committed other
 17 crimes of violence or drug trafficking crimes. As to Figueroa, the government argues
 18 that RICO conspiracy and Hobbs Act robbery remain crimes of violence under §
 19 924(c).
 20         Section 924(c) is a sentencing enhancement provision that provides a series of
 21 mandatory consecutive sentences for using or carrying a firearm in furtherance of a
 22 “crime of violence or drug trafficking crime.” See 18 U.S.C. § 924(c).4 Section
 23
 24         4
                Section 924(c)(1)(A) provides,
 25         Except to the extent that a greater minimum sentence is otherwise
            provided by this subsection or by any other provision of law, any
 26         person who, during and in relation to any crime of violence or drug
            trafficking crime (including a crime of violence or drug trafficking
 27         crime that provides for an enhanced punishment if committed by the
            use of a deadly or dangerous weapon or device) for which the person
 28         may be prosecuted in a court of the United States, uses or carries a
            firearm, or who, in furtherance of any such crime, possesses a firearm,
                                                 -7-                                  [12CR236]
Case 3:12-cr-00236-JO    Document 2041     Filed 01/30/17    PageID.18215      Page 8 of
                                          13


  1 924(c)(3) defines the term “crime of violence” as:
  2         an offense that is a felony and –
  3         (A) has as an element the use, attempted use, or threatened use of
  4         physical force against the person or property of another, or
  5         (B) that by its nature, involves a substantial risk that physical force
  6         against the person or property of another may be used in the course of
            committing the offense.
  7
      18 U.S.C. § 924(c)(3).5 A defendant may be subject to a sentencing enhancement
  8
      under § 924(c) if he or she is convicted of either a “crime of violence or drug
  9
      trafficking crime.” See 18 U.S.C. § 924(c).
 10
      B.    Espudo and Grado
 11
            The government argues that despite Espudo and Grado’s reliance on Johnson to
 12
      challenge their RICO conspiracy sentence, their sentences under § 924(c) should still
 13
      be upheld because they were also convicted of other crimes subject to § 924(c). In
 14
      their replies, Espudo and Grado argue that the record is not clear whether the § 924(c)
 15
      conviction rested on acts involving a crime of violence or acts involving drug
 16
      trafficking and it could be argued the § 924(c) convicted rested solely on a crime of
 17
 18
 19
 20
 21         shall, in addition to the punishment provided for such crime of
            violence or drug trafficking crime --
 22
            (i) be sentenced to a term of imprisonment of not less than 5 years;
 23
            (ii) if the firearm is brandished, be sentenced to a term of imprisonment
 24         of not less than 7 years; and
 25         (iii) if the firearm is discharged, be sentenced to a term of
            imprisonment of not less than 10 years.
 26
      18 U.S.C. § 924(c)(1)(A).
 27
            5
           Courts have referred to subsection (A) as the “elements” or “force” clause and
 28 subsection (B) as the “residual clause.” United States v. Abdul-Samad, No.
    10-CR-2792 WQH, 2016 WL 5118456, at *3 (S.D. Cal. Sept. 21, 2016).
                                                -8-                                     [12CR236]
Case 3:12-cr-00236-JO    Document 2041     Filed 01/30/17    PageID.18216     Page 9 of
                                          13


  1 violence.6 (Dkt. Nos. 2019 at 8; Dkt. No. 2020 at 8.)
  2         Both Grado and Espudo pled guilty to RICO conspiracy and other crimes. As
  3 to other crimes, Grado pled guilty to Counts 2 and 8 of the Superseding Indictment for
  4 drug trafficking crimes under 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A)(vii),
  5 841(b)(1)(B)(ii), and 846. (Dkt. No. 627 at 80, 82). Count 11, concerning the firearm
  6 enhancement, charged Grado with aiding and abetting the discharge of a firearm in
  7 relation to a crime of violence and a drug trafficking crime in violation of 18 U.S.C. §
  8 924(c)(1)(A). (Dkt. No. 627 at 83-84.) Similarly, Espudo pled guilty to Count 2 of
  9 the Superseding Indictment for drug trafficking crimes under 21 U.S.C. §§ 841(a)(1),
 10 841(b)(1)(A)(vii), 841(b)(1)(B)(ii), and 846 and brandishing a firearm in relation to a
 11 crime of violence and a drug trafficking crime in violation of 18 U.S.C. § 924(c)(1)(A).
 12 (Dkt. No. 627 at 80, 84.)
 13         The PSR as well as the Judgments specifically list the bases of the § 924(c)
 14 convictions to be for crimes of violence and drug trafficking crimes. (Dkt. Nos. 1342;
 15 1585; 1513, 1597.) The colloquy at the plea hearing also confirm that the § 924(c)
 16 convictions were based on both the crimes of violence and a drug trafficking crimes.
 17 (See Dkt. No. 1970, Grado Am. Pet., Ex. B; Dkt. No. 1971, Espudo Pet., Ex. B.)
 18 Therefore, even if the Court agreed with Petitioners’ argument that Johnson should
 19 provide them with relief, their mandatory enhanced sentence under § 924(c) must still
 20 be upheld because they would have been sentenced under § 924(c) for the drug
 21 trafficking crimes. Contrary to Petitioners’ argument, the record is clear that the
 22 enhancement under § 924(c) was for both crimes of violence and drug trafficking
 23 crimes.
 24         Therefore, the Court tentatively DENIES Petitioners Grado and Espudo’s
 25 motions to vacate, set aside or correct sentence.
 26
            6
           Petitioners further argue the RICO conspiracy statute is indivisible and the
 27 categorical approach applies to determine whether a conviction is a crime of violence.
    However, the Court need not address this issue because the record is clear, and it is not
 28 disputed, that Espudo and Grado were separately convicted of drug trafficking crimes
    under 21 U.S.C. §§ 841 and 846.
                                               -9-                                    [12CR236]
Case 3:12-cr-00236-JO    Document 2041 Filed 01/30/17       PageID.18217     Page 10
                                      of 13


 1 C.      Solarzano and Cornejo
 2         The government also contends that despite Petitioners’ arguments that Johnson
 3 invalidates their enhanced sentence, the jury made specific findings as to Solorzano and
 4 Cornejo that the § 924(c) offense occurred during and in relation to a “crime of
 5 violence” predicated not only on RICO conspiracy but also attempted murder in aid of
 6 racketeering and assault with a deadly weapon in aid of racketeering. In their replies,
 7 Petitioners argues that Count 3 of the Second Superseding Indictment for violent crime
 8 in aid of racketeering (attempted murder and assault with a dangerous weapon of R.T.
 9 and S.V.) is not a crime of violence under § 924(c).
10         The jury found Solorzano and Cornejo guilty of RICO conspiracy in Count 1, not
11 guilty of violent crime in aid of racketeering in Count 3, and guilty for discharge of a
12 firearm in relation to a crime of violence in Count 20. Count 20 states that
13         On or about August 20, 2011, within the Southern District of
           California, defendants JULIO SOLORZANO and JOSE CORNEJO,
14         did knowingly and intentionally discharge a firearm during and in
15         relation to a crime of violence, to wit: the racketeering conspiracy
           alleged in Count 1 of this Superseding Indictment, in that said
16         racketeering conspiracy involved the commission of the offenses
17         specified in paragraph 15, subparagraphs a and c, of Count 1; and the
           violent crime in aid of racketeering alleged in Count 3 of this
18         Superseding Indictment in violation of Title 18, United States Code,
19         Sections 924(c)(1)(A) and 2 and Pinkerton v. United States, 328 U.S.
           640 (1946).
20
21 (Dkt. No. 1115 at 66-67.)
22       The government argues that notwithstanding the conviction for RICO

23 conspiracy, Cornejo and Solorzano were also convicted of discharge of a firearm in
24 relation to a violent crime in aid of racketeering and is a separate alternative basis to
25 sustain their conviction under § 924(c). Count 20 is based on a violation of Count 3
26 which charged Solorzano and Cornejo with violent crime in aid of racketeering of
27 attempted murder in violation of California Penal Code sections 664 and 187(a), and
28 assault with a dangerous weapon in violation of California Penal Code section 245,

                                              - 10 -                                 [12CR236]
Case 3:12-cr-00236-JO   Document 2041 Filed 01/30/17        PageID.18218    Page 11
                                     of 13


 1 which are all in violation of 18 U.S.C. §§ 1959(a)(3) and (a)(5). (Dkt. No. 1115 at 61.)
 2         The jury specifically found both Petitioners were guilty of “discharge of a
 3 firearm on or about August 20, 2011, in relation to a crime of violence, that is the
 4 violent crime in aid of racketeering, as charged in Count 20 of the Superseding
 5 Indictment.” (Dkt. Nos. 1437 (Solorzano), 1438 (Cornejo).)
 6         The Violent Crimes in Aid of Racketeering statute (“VICAR”), 18 U.S.C. §
 7 1959, punishes certain violent acts committed by a defendant “for the purpose of
 8 gaining entrance to or maintaining or increasing position in an enterprise engaged in
 9 racketeering activity, murders, kidnaps, maims, assaults with a dangerous weapon,
10 commits assault resulting in serious bodily injury upon, or threatens to commit a crime
11 of violence against any individual in violation of the laws of any State or the United
12 States, or attempts or conspires so to do, shall be punished – . . . .” 18 U.S.C. §
13 1959(a).
14         Petitioners both argue that attempted murder and assault with a deadly weapon
15 are not crimes of violence under § 924(c) since the elements do not categorically
16 involve the use, attempted use, or threatened use of physical force. Petitioners urge
17 the Court to consider the generic definition of assault with a deadly weapon and murder
18 instead of the state law definition because while the Second Superseding Indictment
19 charged both with the California State definition of attempted murder and assault with
20 a deadly weapon, the jury instruction does not show whether the Court relied on
21 California law or not. Based on the generic definition of murder and assault with a
22 deadly weapon, Solorzano and Cornejo argue these crimes do not qualify as a crime of
23 violence as they do not require the intentional use of force.
24         However, contrary to Petitioners’ argument, the Court notes that the jury
25 instruction on assault with a deadly weapon tracks the California Criminal Jury
26 Instruction No. 875. (Dkt. Nos. 2021, Cornejo’s Reply, Ex. F; 2022, Solorzano’s
27 Reply, Ex. F.) The Ninth Circuit has held that assault with a deadly weapon under
28 California Penal Code section 245(a)(1) and (a)(2) is categorically a “crime of

                                             - 11 -                                 [12CR236]
Case 3:12-cr-00236-JO      Document 2041 Filed 01/30/17         PageID.18219     Page 12
                                        of 13


 1 violence” as defined under 8 U.S.C. § 16(a) & (b). United States v. Heron-Salinas, 566
 2 F.3d 898, 899 (9th Cir. 2009); Ramirez v. Lynch, 628 Fed. App’x 506 (9th Cir. Jan. 4,
 3 2016) (“assault with a deadly weapon in violation of California Penal Code § 245(a)(1)
 4 is categorically a crime of violence as defined in 18 U.S.C. § 16(a)”).
 5           8 U.S.C. § 16 defines a “crime of violence” as
 6           (a) an offense that has as an element the use, attempted use, or
             threatened use of physical force against the person or property of
 7           another, or
             (b) any other offense that is a felony and that, by its nature, involves a
 8           substantial risk that physical force against the person or property of
             another may be used in the course of committing the offense.
 9
10 18 U.S.C. § 16. Since the elements clause of 8 U.S.C. § 16 contains the same language
11 as the elements clause of § 924(c)(3)(A), the Court concludes that assault with a deadly
12 weapon under California Penal Code section 245 is a “crime of violence” under the
13 elements clause.7
14           As to the crime of attempted murder, the “attempt” portion of the jury instruction
15 comes from the Ninth Circuit Manual of Model Criminal Jury Instruction No. 503 and
16 the “murder” portion tracks California Criminal Jury Instruction No. 520. While there
17 are no cases that have determined whether murder under California law constitutes a
18 crime of violence under § 924(c), the Court need not address the issue as Petitioners
19 would still have been sentenced under § 924(c) for violent crime in aid of racketeering
20 of assault with a dangerous weapon.
21           Thus, the Court tentatively DENIES Petitioners Solorzano and Cornejo’s
22 petitions to vacate, set aside or correct sentence.
23 / / / /
24 / / / /
25 / / / /
26
27           7
           While the Superseding Indictment is not clear what provisions under California
   Penal Code section 245 applies to Petitioners, it appears that section 245(a)(2) for “any
28 person who commits and assault upon the person of another with a firearm” would be
   the relevant provision.
                                                - 12 -                                    [12CR236]
Case 3:12-cr-00236-JO   Document 2041 Filed 01/30/17       PageID.18220     Page 13
                                     of 13


 1                                       Conclusion
 2         Counsel are advised that the Court’s rulings are tentative and the Court will
 3 entertain additional arguments at the hearing.
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 7 DATED: January 30, 2017
 8
                                             HON. GONZALO P. CURIEL
 9                                           United States District Judge
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